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AO 2458 (CASDRev. 081I3) Judgment in a Criminal Case


                                          UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF CALIFORNIA                                   1m 5JUL 2' r.n 9: C ;
               UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                     v.                                                                    .           ....,
                                                                      (For Offenses Committed On or After NQvember 1, 1987)
                                                                                                                    ......
                                                                                                                   t' • t          ",-:-..'1-: .
                RYAN COOPER WHEELER (14)
                                                                         Case Number:         14CR2130-DMS

                                                                      JOHN G. COTSIRILOS
                                                                      Defendant's Attorney
REGISTRATION NO.                     42219298
o­
THE DEFENDANT:
I:8J    pleaded gUilty to count(s)         1 of the Indictment

o was found guilty on count(s)
    after a olea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                        Count
Title & Section                           Nature of Offense                                                            Number(s)
21 USC 841(a)(1) and 846                  CONSPIRARACY TO DISTRIBUTE METHAMPHETAMINE                                           1

21 USC 853                                .CRIMINAL FORFEITURE




    The defendant is sentenced as provided in pages 2 through                   4            ofthis judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 I:8J   Count(s)                                                 is         dismissed on the motion of the United States.
                   ----------------------------
 IZI    Assessment : $1 00.00.




 I:8J No fine                    0 Forfeiture pursuant to order filed                                             , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                      HON. DANA              . SABRAW
                                                                      UNITED STATES DISTRICT JUDGE



                                                                                                                     14CR2130-DMS
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                  RYAN COOPER WHEELER (14)                                               Judgment - Page 2 of
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                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 EIGHTEEN (18) MONTHS.




 o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZI    The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends that the defendant be placed in an institution in the Southwest Region of
        California.




 o       The defendant is remanded to the custody ofthe United States Marshal.

 IZI     The defendant shall surrender to the United States Marshal for this district:
         IZI   at          12:00           P.M.               on August 28,2015
                -----------------
         IZI as notified by the United States Marshal.

         The defendant shall surrender for service of sentence at the institution designated by the Bureau of
         Prisons:
         IZI   on or before 12:00 pm on August 28,2015
         IZI   as notified by the United States Marshal.
         o     as notified by the Probation or Pretrial Services Office.

                                                        RETURN
 I have executed this judgment as follows:

         Defendant delivered on
                                  -------------------------- to -----------------------------~
 at
       ----------------------- , with a certified copy of this judgment.
                                                                 UNITED STATES MARSHAL



                                      By                    DEPUTY UNITED STATES MARSHAL


                                                                                                       14CR2130-DMS
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    AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

    DEFENDANT:                    RYAN COOPER WHEELER(l4)                                                                      Judgment - Page 3 of
    CASE NUMBER:                  14CR2130-DMS

                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from th
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o         substance abuse. (Check, ifapplicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted ofa qualifying offense. (Check ifapplicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check ifapplicable.)

           If this judgment imposes a fme or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
      such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule 0
      Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                         STANDARD CONDITIONS OF SUPERVISION
     1)   the defendant shall not leave the judicial district without the permission ofthe court or probation officer;
     2)   the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)   the defendant shall support his or her dependents and meet other family responsibilities;
     5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
      6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7) the defendant shall refrain from excessive use of alcohol and shall not purehase, possess, use, distribute, or administer any controlled substance 0
          any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;
      10) the defendant shall permit a probation offieer to visit him or her at any time at home or elsewhere and shall permit confiseation of any contraban
          observed in plain view of the probation officer;
      II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12) the defendant shall not enter into any agreement to act as an informer or a special agent ofa law enforcement agency without the permission of
          the court; and
      13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
          personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
          with such notification requirement.



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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:            RYAN COOPER WHEELER (14)                                               Judgment - Page 4 of
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                               SPECIAL CONDITIONS OF SUPERVISION

1.     Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
       and counseling, as directed by the probation officer. Allow for reciprocal release of information between
       the probation officer and the treatment provider. May be required to contribute to the costs of services
       rendered in an amount to be determined by the probation officer, based on ability to pay.

2.     Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
       Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
       or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
       revocation; the defendant shall warn any other residents that the premises may be subject to searches
       pursuant to this condition.

3.     Not enter or reside in the Republic of Mexico without permission of the court or probation officer.

4.     Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

5.     Seek and maintain full time employment and/or schooling or a combination of both.

/I




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